                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ABINGDON DIVISION


UNITED STATES OF AMERICA,     )
                              )
v.                            )                    Case Number: 1:19CR00047-00
                              )
NANCY APRIL ELIZABETH KESTNER )
(a/k/a NANCY APRIL ELIZABETH  )
CROWGEY),                     )
                              )
        Defendant.            )


             DEFENDANT NANCY APRIL ELIZABETH KESTNER’S FIRST
                 REQUEST FOR PRODUCTION OF DOCUMENTS

       Now comes the defendant, Nancy April Elizabeth Kestner, pursuant to Rules 12 and 16

of the Federal Rules of Criminal Procedure, and requests that the United States disclose to him

and make available for inspection, copying or photographing:

       (1)    All documents, electronically stored information and other tangible data
              and evidence which supports the government’s allegations in the
              Indictment.

       (2)    All evidence within the custody or control of the United States that
              defendant has violated the statutes cited in the Indictment.

       (3)    Any relevant written or recorded statements made by the defendant within
              the possession, custody or control of the government, the existence of
              which is known, or by the exercise of due diligence may become known, to
              the attorney for the government.

       (4)    Any other oral statement made by the defendant whether before or after
              arrest in response to interrogation by any person then known by the
              defendant to be a government agent if the government intends to use that
              statement at trial.




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      (5)    A copy of the defendant’s criminal record, if any, as is within the
             possession, custody or control of the government, the existence of which is
             known, or by the exercise of due diligence may become known, to the
             attorney for the government.

      (6)    Books, papers, documents, photographs, tangible objects, buildings or
             places, or copies or portions thereof, which are within the possession,
             custody or control of the government and which are material to the
             preparation of the defendant’s defense or are intended for use by the
             government as evidence in chief at trial or were obtained from or belong to
             the defendant. This request includes all photographs used by anyone to
             identify or implicate the defendant as the perpetrator of the crimes charged
             in the Indictment.

      (7)    Any results or reports of physical or mental examinations, and of scientific
             tests or experiments, or copies thereof, which are within the possession,
             custody or control of the government, and which are material to the
             preparation of the defense or are intended for use by the government as
             evidence in chief at trial.

      (8)    A written summary of testimony the government intends to use under
             Rules 702, 703 or 705 of the Federal Rules of Evidence during its case in
             chief at trial. This summary must comply with Rule 16(a)(1)(G) of the
             Federal Rules of Criminal Procedure and describe the witnesses’ opinions,
             the bases and the reasons therefor, and the witnesses’ qualifications.

      (9)    Written notice of the government’s intention to use (in its evidence in chief
             at trial) any evidence which the defendant may be entitled to discover
             subject to any relevant limitations prescribed in Rule 16 of the Federal
             Rules of Criminal Procedure.

      (10)   A transcript of all grand jury proceedings that pertain or relate in any
             respect to any of the counts alleged in the Indictment.

      (11)   A transcript of any and all preliminary examinations which pertain or relate
             in any respect to the defendant.




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                                           NANCY APRIL ELIZABETH KESTNER
                                           (a/k/a NANCY APRIL ELIZABETH
                                           CROWGEY)


                                           By: /s/Paul G. Beers
                                                  Of Counsel

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Counsel for Nancy April Elizabeth Kestner
(a/k/a Nancy April Elizabeth Crowgey)



                                    Certificate of Service

       I hereby certify that on November 4, 2019, I electronically filed the foregoing

 Defendant Nancy April Elizabeth Kestner’s First Request for Production of Documents

 with the Clerk of the Court using the CM/ECF system which will send notification of such

 filing to all counsel of record.



                                                   /s/Paul G. Beers
                                                  Paul G. Beers




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